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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Southern District
                                                  __________ Districtof
                                                                      ofIndiana
                                                                         __________

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                                                                    )                 1:22-mj-0175
                     CARL YOUNG, JR.                                )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      02/16/2022                 in the county of                Marion        in the
     Southern          District of             Indiana          , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. § 922(g)(1)                            Possession of a Firearm by a Prohibited Person
21 U.S.C. § 841(a)(1) and (b)(1)(C)              Possession with the Intent to Distribute Cocaine
21 U.S.C. § 841(a)(1) and (b)(1)(D)              Possession with the Intent to Distribute Marijuana
18 U.S.C. § 924(c)                               Carrying a Firearm during and in Relation to a Drug Trafficking Crime




         This criminal complaint is based on these facts:
See attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                               s/ David B. McDaniel
                                                                                               Complainant’s signature

                                                                                         David B. McDaniel, TFO/ATF
                                                                                                Printed name and title

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       WHOHSKRQLF                 UHOLDEOHHOHFWURQLFPHDQV

Date: Date: 3/2/2022
                                                                              _______________________________
                                                                                           Judge’s signature

City and state:                          Indianapolis, IN                       Tim A. Tim
                                                                                  Hon. Baker
                                                                                           A. Baker, U.S. Magistrate Judge
                                                                                United StatesPrinted
                                                                                              Magistrate    Judge
                                                                                                     name and title
                                                                                Southern District of Indiana
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                           AFFIDAVIT IN SUPPORT OF
                     APPLICATION FOR CRIMINAL COMPLAINT

1. Your Affiant, David McDaniel, is a Task Force Officer (TFO) with the federal Bureau of

   Alcohol, Tobacco, Firearms, and Explosives (ATF), a component of the United States

   Department of Justice, and has served in that capacity since 2008. Your Affiant is currently

   assigned to the Indianapolis Group I Field Office – Achilles Task Force and is charged with

   investigating violations of federal firearms, explosives, and arson laws, as well as offenses

   enumerated in Titles 18 and 26 of the United States Code. Your Affiant is a Detective for the

   Indianapolis Metropolitan Police Department (IMPD) and has been employed with IMPD

   since November 1995.

2. As a law enforcement officer, your Affiant has participated in investigations involving

   homicides, aggravated batteries, serious violent felons, firearms, drug trafficking, robberies,

   and financial crimes, among other matters.        Your Affiant has also testified in judicial

   proceedings and prosecutions for violations of comparable state law. Your Affiant received

   their initial training at the Indianapolis Metropolitan Police Department Academy in 1995.

   Your Affiant has satisfied the minimum basic training requirements established by rules

   adopted by the law enforcement training board under I.C. 5-2-1-9 and described in I.C. 35-37-

   4-5. Your Affiant has completed       Basic Detective School through the Indianapolis Police

   Department and has attended various narcotics trainings both locally and through the United

   States Department of Justice. Your Affiant has received Quarterly Firearms Training (held in

   Indianapolis) and yearly in-service training (held in Indianapolis).

3. This affidavit is submitted in support of a criminal complaint charging Carl Young Jr., (date

   of birth XX/XX/1981) with possession of a firearm by a prohibited person in violation of Title

   18, United States Code, Section 922(g)(1), possession with the intent to distribute cocaine in
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     violation of Title 21, United States Code 841(a)(1),(b)(1)(C), possession with the intent to

     distribute marijuana in violation of Title 21, United States Code 841(a)(1),(b)(1)(D), and

     carrying a firearm during and in relation to a drug trafficking crime in violation of Title 18,

     United States Code 924(c). The information contained in the below numbered paragraphs is

     either personally known to your Affiant or told to your Affiant by other law enforcement

     officers.

4.    The information contained in the below numbered paragraphs is either personally known to

     your Affiant or told to your Affiant by other law enforcement officers.

5. On February 16, 2022 at approximately 12:06 a.m., Indianapolis Metropolitan Police

     Department (IMPD) officers were dispatched to XXXX Thaddeus St in Indianapolis, Marion

     County, Indiana regarding a domestic disturbance. Upon arriving, the Officer Hupp observed

     a black Jeep traveling in the alley just south of the residence with no lights. Immediately upon

     arrival, victim 1 (V1) ran out, stating that her vehicle had just been stolen by her son, Carl

     Young Jr. V1 pointed to the black Jeep that Officer Hupp had viewed in the alley.

6. Young drove the Jeep from the alley and began to accelerate. Officer Hupp, who was driving

     a fully marked police car, activated his emergency lights and siren and observed the Jeep

     driving at a high rate of speed, fail to stop at a stop sign at the intersection of Minnesota St.

     and State St., and struck a white 2006 Buick. The driver (victim 2) and passenger (victim 3)

     of the Buick were both ejected from the vehicle. Victim 2 was trapped under the vehicle, but

     officers were able to lift the vehicle to free Victim 2. Victim 3 was ejected from the vehicle

     onto the sidewalk, approximately five feet from the vehicle. Both Victim 2 and Victim 3 were

     transported to Eskenazi in critical condition and Victim 2 was taken into surgery due to internal

     bleeding.
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7. After striking the Buick, Young continued to try to flee the scene of the crash. Young

   purposefully backed into Officer Hupp’s police vehicle, striking the vehicle.         Officers

   surrounded Young’s vehicle with police vehicles and removed Young from the driver’s seat

   of the Jeep. Young was the only occupant of the vehicle. Young had two shotgun shells on

   his person when he was taken into custody.

8. In the front passenger seat of the Jeep next to Young a loaded Mossberg 12 gauge pump action

   shotgun, numerous additional shotgun shells, a backpack containing six pounds of marijuana

   and twenty-six grams of crack cocaine, and packaging material were located. Based on my

   training and experience, the possession of six pounds of marijuana and twenty-six grams of

   cocaine are consistent with possession with the intent to distribute. Based on my training and

   experience, the possession of a loaded firearm in close proximity to distribution quantities of

   marijuana and cocaine is consistent with the possession of a firearm in furtherance of the drug

   trafficking crime(s).

9. Officers were able to speak to V1 and learned that Young had possessed the Mossberg shotgun

   at the residence earlier that evening, where a round was discharged into the ceiling. Officers

   observed a hole in the ceiling where the discharge had occurred.

10. A search warrant was obtained for the Airbag Control Module of the Jeep, which collects and

   stores up to five seconds of pre-crash vehicle data. That data showed the Jeep was travelling

   at 74 miles per hour at the time of impact. The posted speed limit where the collision occurred

   is 30 miles per hour.

11. The Mossberg shotgun was examined and found to have been manufactured outside the state

   of Indiana and had travelled in interstate commerce.
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12. Young has sustained felony convictions for crimes punishable by more than one (1) year of

   imprisonment of which he had knowledge, including:

       a.   Operating a Vehicle While Intoxicated Endangering a Person on June 21, 2021 in

            Marion County, Indiana under cause #49D23-2102-F6-003538,

       b. Operating a Vehicle While Intoxicated Endangering a Person and Dealing in Marijuana

            on June 21, 2021 in Marion County, Indiana under cause #49D23-1903-F6-010176,

       c. Operating a Vehicle While Intoxicated Endangering a Person on February 8, 2019 in

            Marion County, Indiana under cause # 49G15-1709-F6-037579,

       d. Battery Against a Public Safety Official on April 25, 2015 in Marion County, Indiana

            under cause #49G15-1504-F6-014367,

       e. Possession of Hash Oil on April 14, 2010 in Marion County, Indiana under cause #

            49G14-1004-FD-030467.
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                                             Conclusion

13. Based on the facts set forth in this affidavit, your Affiant submits that probable cause exists

   that on February 16, 2022, in the Southern District of Indiana, Carl Young Jr. committed the

   offenses of possession of a firearm by a prohibited person in violation of Title 18, United States

   Code, Section 922(g)(1), possession with the intent to distribute cocaine in violation of Title

   21, United States Code 841(a)(1),(b)(1)(C), possession with the intent to distribute marijuana

   in violation of Title 21, United States Code 841(a)(1),(b)(1)(D), and carrying a firearm during

   and in relation to a drug trafficking crime in violation of Title 18, United States Code 924(c).

   I respectfully request this Court issue a Criminal Complaint for Young accordingly, along with

   a warrant for his arrest.

                                           s/ David B. McDaniel
                                           David B. McDaniel, Task Force Officer
                                           Bureau of Alcohol, Tobacco, Firearms, and Explosives


Subscribed and sworn to me, pursuant to Federal Rules of Criminal Procedure 4.1 and 41(d)(3),
by reliable electronic means.


     Date: 3/2/2022
                                                       _______________________________
                                                         Tim A. Baker
                                                         United States Magistrate Judge
                                                         Southern District of Indiana
